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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
HAWA KAMARA, individually and on behalf of
all others similarly situated,

                                   Plaintiff,
                 -against-                                                  20 CIVIL 9012 (PKC)

                                                                              JUDGMENT
PEPPERIDGE FARM, INCORPORATED,

                                    Defendant.
-----------------------------------------------------------X

          It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated November 9, 2021, Defendant's motion to dismiss

is granted in its entirety. Plaintiff's request for leave to amend is denied; accordingly, the case is

closed.

Dated: New York, New York

          November 9, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
